CASE 0:16-cv-01127-JRT-DTS Document 101 Filed 04/05/18 Page 1 of 7
CASE 0:16-cv-01127-JRT-DTS Document 101 Filed 04/05/18 Page 2 of 7
CASE 0:16-cv-01127-JRT-DTS Document 101 Filed 04/05/18 Page 3 of 7
CASE 0:16-cv-01127-JRT-DTS Document 101 Filed 04/05/18 Page 4 of 7
CASE 0:16-cv-01127-JRT-DTS Document 101 Filed 04/05/18 Page 5 of 7
CASE 0:16-cv-01127-JRT-DTS Document 101 Filed 04/05/18 Page 6 of 7
CASE 0:16-cv-01127-JRT-DTS Document 101 Filed 04/05/18 Page 7 of 7
